        Case: 3:21-cv-00609-wmc Document #: 3 Filed: 09/27/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 BRIAN D. DEGORSKI ,

        Petitioner,                                                  ORDER
 v.
                                                             Case No. 21-cv-609-wmc
 LIZZIE TEGELS,

        Respondent.


       Petitioner Brian D. Degorski seeks a writ of habeas corpus pursuant to 28 U.S.C.

§ 2254. Petitioner has neither paid the $5 filing fee nor requested leave to proceed without

prepayment of the filing fee. For this case to move forward, petitioner must pay the $5 filing

fee or submit a properly supported motion for leave to proceed without prepayment of the

filing fee no later than October 18, 2021. Any motion for leave to proceed without prepayment

of the filing fee must include a certified copy of an inmate trust fund account statement (or

institutional equivalent) for the six-month period beginning approximately March 27, 2021

through the date of the petition, September 27, 2021.




                                          ORDER

       IT IS ORDERED that:

              1.      Petitioner Brian D. Degorski may have until October 18, 2021, to pay

the $5 filing fee or submit a properly supported motion for leave to proceed without

prepayment of the filing fee.
        Case: 3:21-cv-00609-wmc Document #: 3 Filed: 09/27/21 Page 2 of 2




       2.     If petitioner does not submit either the $5 payment or a motion for leave to

proceed without prepayment before October 18, 2021, I will assume that petitioner wishes to

withdraw this petition.




              Entered this 27th day of September, 2021.

                                  BY THE COURT:


                                  /s/
                                  PETER OPPENEER
                                  Magistrate Judge
